[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION RE: MOTION FOR PROTECTIVE ORDER AND MOTION TO QUASH (DATED NOVEMBER 10, 2000) AND OBJECTION TO MOTION FOR PROTECTIVE ORDER AND MOTION TO QUASH (DATED NOVEMBER 14, 2000)
The defendant may depose the keeper of the records, however the subpoena and schedule A attached to notice of deposition shall be limited to all medical records relative to those injuries sustained in a motor vehicle accident on July 25, 1998 and also, all injuries similar and/or related thereto within the 10 years prior to July 25, 1998 and also all injuries or illnesses similar and/or related thereto subsequent to July 25, 1998 including but not limited to handwritten office notes, typed/written office notes, typed/written medical reports, laboratory reports, reports regarding diagnostic testing such as radiology reports, CT scan reports, MRI reports, EMG reports, etc., correspondence, billing statements, billing invoices and billing records. In addition, copies of any and all radiographic studies, including but not limited to, x-rays, CT scans, MRIs and ultrasounds.
JOHN W. MORAN, JUDGE